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Case 1:15-cr-00379-PKC Document 7 Filed 03/30/17 Page 1of 9

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

os ORGINAL

UNITED STATES OF AMERICA

- V. -

SUPERSEDING INDICTMENT

VICTOR HUGO DIAZ MORALES, :
a/k/a “Victor Manuel Villegas Castillo,” : S115 Cr. 379
a/k/a “Rojo,” :

Defendant.
a
COUNT ONE
The Grand Jury charges:
1. From at least in or about 2003, up to and including

in or about March 2017, in Honduras, Guatemala, and elsewhere, and
in an offense begun outside of the jurisdiction of any particular
State or district of the United States and for which one of two or
more joint offenders has been first brought to and arrested in the
Southern District of New York, VICTOR HUGO DIAZ MORALES, a/k/a
“Victor Manuel Villegas Castillo,” a/k/a “Rojo,” the defendant,
whose point of entry into the United States is expected to be in
the Southern District of New York, and others known and unknown,
intentionally and knowingly did combine, conspire, confederate and
agree together and with each other to violate the narcotics laws

of the United States.

 

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Case 1:15-cr-00379-PKC Document 7 Filed 03/30/17 Page 2 of 9

2. It was a part and an object of the conspiracy that
VICTOR HUGO DIAZ MORALES, a/k/a “Victor Manuel Villegas Castillo,”
a/k/a “Rojo,” the defendant, and others known and unknown, would
and did import into the United States and into the customs
territory of the United States from a place outside thereof
controlled substances, in violation of Title 21, United States
Code, Sections 952(a) and 960(a) (1).

3. It was further a part and an object of the
conspiracy that VICTOR HUGO DIAZ MORALES, a/k/a “Victor Manuel
Villegas Castillo,” a/k/a “Rojo,” the defendant, and others known
and unknown, would and did manufacture, distribute, and possess
controlled substances on board an aircraft registered in the United
States, in violation of Title 21, United States Code, Sections
952(b) and 960(a) (1).

4, It was further a part and an object of the
conspiracy that VICTOR HUGO DIAZ MORALES, a/k/a “Victor Manuel
Villegas Castillo,” a/k/a “Rojo,” the defendant, and others known
and unknown, would and did manufacture and distribute controlled
substances, intending, knowing, and having reasonable cause to
believe that such substances would be unlawfully imported into the
United States and into waters within a distance of 12 miles of the

coast of the United States from a place outside thereof, in
Case 1:15-cr-00379-PKC Document 7 Filed 03/30/17 Page 3 of 9

violation of Title 21, United States Code, Sections 959(a) and
960 (a) (3).

5. The controlled substances that VICTOR HUGO DIAZ
MORALES, a/k/a “Victor Manuel Villegas Castillo,” a/k/a “Rojo,”
the defendant, and others known and unknown, conspired to

(1) import into the United States and into the customs territory

of the United States from a place outside thereof, (ii)
manufacture, distribute, and possess on board an aircraft
registered in the United States, and (iii) manufacture and

distribute, intending, knowing, and having reasonable cause to
believe that such substances would be unlawfully imported into the
United States and into waters within a distance of 12 miles of the
coast of the United States from a place outside thereof, were (i)
five kilograms and more of mixtures and substances containing a
detectable amount of cocaine, its salts, optical and geometric
isomers, and salts of isomers, in violation of Title 21, United
States Code, Section 960(b) (1) (B), and (ii) 500 grams and more of
a mixture or substance containing a detectable amount of
methamphetamine, its salts, isomers, or salts of its isomers, in
violation of Title 21, United States Code, Section 960(b) (1) (H).

(Title 21, United States Code, Sections 959(d) and 963; and
Title 18, United States Code, Section 3238.)

 
Case 1:15-cr-00379-PKC Document 7 Filed 03/30/17 Page 4 of 9

COUNT TWO

The Grand Jury further charges:

6. From at least in or about 2003, up to and including
in or about March 2017, in Honduras, Guatemala, and elsewhere, and
in an offense begun outside of the jurisdiction of any particular
State or district of the United States and for which one of two or
more joint offenders has been first brought to and arrested in the
Southern District of New York, VICTOR HUGO DIAZ MORALES, a/k/a
“Victor Manuel Villegas Castillo,” a/k/a “Rojo,” the defendant,
during and in relation to a drug trafficking crime for which he
may be prosecuted in a court of the United States, to wit, the
narcotics-importation conspiracy charged in Count One of this
Superseding Indictment, knowingly did use and carry firearms, and,
in furtherance of such crime, did possess firearms, and did aid
and abet the use, carrying, and possession of firearms, to wit,
machineguns that were capable of automatically shooting more than
one shot, without manual reloading, by a single function of the
trigger, as well as destructive devices.

(Title 18, United States Code,
Sections 924(c) (1) (A), 924(c) (1) (B) (11), 3238, and 2.)
Case 1:15-cr-00379-PKC Document 7 Filed 03/30/17 Page 5 of 9

COUNT THREE

The Grand Jury further charges:

7. From at least in or about 2003, up to and including
in or about March 2017, in Honduras, Guatemala, and elsewhere, and
in an offense begun outside of the jurisdiction of any particular
State or district of the United States and for which one of two or
more joint offenders has been first brought to and arrested in the
Southern District of New York, VICTOR HUGO DIAZ MORALES, a/k/a
“Victor Manuel Villegas Castillo,” a/k/a “Rojo,” the defendant,
intentionally and knowingly did combine, conspire, confederate and
agree together and with each other to violate Title 18, United
States Code, Section 924(c).

8. It was a part and an object of the conspiracy that
VICTOR HUGO DIAZ MORALES, a/k/a “Victor Manuel Villegas Castillo,”
a/k/a “Rojo,” the defendant, and others known and unknown, during
and in relation to a drug trafficking crime for which they may be
prosecuted in a court of the United States, to wit, the narcotics
importation conspiracy charged in Count One of this Superseding
Indictment, would and did use and carry firearms, and, in

furtherance of such drug trafficking crime, possess firearms, in
Case 1:15-cr-00379-PKC Document 7 Filed 03/30/17 Page 6 of 9

violation of Title 18, United States Code, Sections
924 (c) (1) (A) (i).
(Title 18, United States Code, Sections 924(0) and 3238.)

FORFEITURE ALLEGATION

 

(As to Count One)

9. As a result of committing the controlled substances
offense charged in Count One of this Superseding Indictment, VICTOR
HUGO DIAZ MORALES, a/k/a “Victor Manuel Villegas Castillo,” a/k/a
“Rojo,” the defendant, shall forfeit to the United States, pursuant
to Title 21, United States Code, Sections 853 and 970, any and all
property constituting, or derived from, any proceeds the defendant
obtained, directly or indirectly, as a result of the offense, and
any and all property used, or intended to be used, in any manner
or part, to commit, and to facilitate the commission of the offense
charged in Count One of this Superseding Indictment.

FORFEITURE ALLEGATION

 

(As to Counts Two and Three)

10. As a result of committing the firearms offenses ©

charged in Counts Two and Three of this Superseding Indictment,
VICTOR HUGO DIAZ MORALES, a/k/a “Victor Manuel Villegas Castillo,”
a/k/a “Rojo,” the defendant, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 924(d), all

firearms and ammunition involved in and used in the commission of

 
Case 1:15-cr-00379-PKC Document 7 Filed 03/30/17 Page 7 of 9

the offenses charged in Counts Two and Three of this Superseding
Indictment .

Substitute Assets Provision

 

11. If any of the above-described forfeitable property,

as a result of any act or omission of VICTOR HUGO DIAZ MORALES,

a/k/a ‘Victor Manuel Villegas Castillo,” a/k/a “Rojo,” the
defendant: |
a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or

deposited with, a third person;

c. has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be subdivided without difficulty,
it is the intent of the United States, pursuant to Title 21, United

States Code, Sections 853(p) and 970, and Title 28, United States
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Case 1:15-cr-00379-PKC Document 7 Filed 03/30/17 Page 8 of 9

Code, Section 2461(c), to seek forfeiture of any other property of
the defendant up to the value of the above forfeitable property.

(Title 21, United States Code, Sections 853 & 970; and
Title 28, United States Code, Section 2461(c).)

 

 

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Acting United States Attorney
Case 1:15-cr-00379-PKC Document 7 Filed 03/30/17 Page 9 of 9

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
_ Ve _
VICTOR HUGO DIAZ MORALES,
a/k/a “Victor Manuel Villegas Castillo,”
a/k/a “Rojo,”

Defendant.

 

SUPERSEDING INDICTMENT

 

S115 Cr. 378

(21 U.S.C. 8§§ 959(d) & 963; and
18 U.S.C. §§ 924, 3238, 2.)

JOON H. KIM
Acting United States Attorney.

 

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